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   MARIAH CAREY, UNIVERSAL MUSIC
 8 CORP., and SONY MUSIC ENTERTAINMENT
 9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11                              WESTERN DIVISION
12 ANDY STONE, an individual, and        ) Case No. 2:23-cv-09216-PA-JDEx
   TROY POWERS, an individual,           )
13                                       ) NOTICE OF INTERESTED PARTIES
                          Plaintiffs,
14                                       )
         vs.                             )
15                                       )
   MARIAH CAREY, an individual,          )
16 WALTER AFANASIEFF, an                 )
   individual, SONY/ATV TUNES LLC., )
17 a Delaware limited liability company, )
   SONY MUSIC ENTERTAINMENT, a
18 New York General Partnership,         )
   KOBALT MUSIC PUBLISHING               )
19 AMERICA,     INC.  a Delaware         )
   Corporation, UNIVERSAL MUSIC          )
20 CORP., a Delaware Corporation,        )
   WALLY WORLD MUSIC LLC., a
21 California limited liability company, )
   and DOES 1 through 10, inclusive,     )
22                                       )
                          Defendants.    )
23                                       )
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 1                        NOTICE OF INTERESTED PARTIES
 2                      [Fed. R. Civ. P., Rule 7.1; Local Rule 7.1-1]
 3         The undersigned, counsel of record for defendants Mariah Carey, Universal
 4 Music Corp., and Sony Music Entertainment, certifies that the following listed parties
 5 may have a pecuniary interest in the outcome of this case. These representations are
 6 made to enable the Court to evaluate possible disqualification or recusal.
 7         1.    Mariah Carey, a named defendant.
 8         2.    Universal Music Corp., a named defendant and an indirect subsidiary of
 9 Universal Music Group N.V., a Dutch publicly traded entity. No other publicly held
10 company owns ten percent or more of Universal Music Corp.’s stock.
11         3.    Sony Music Entertainment, a named defendant and a wholly-owned
12 indirect subsidiary of Sony Group Corporation, a publicly traded company organized
13 under the laws of Japan. No other publicly held company owns ten percent or more
14 of Sony Music Entertainment’s stock.
15
16 Dated: January 17, 2024                               /s/ Peter Anderson
                                                        Peter Anderson, Esq.
17                                                  DAVIS WRIGHT TREMAINE LLP
                                                      Attorneys for Defendants
18                                                      MARIAH CAREY,
                                                   UNIVERSAL MUSIC CORP., and
19                                                SONY MUSIC ENTERTAINMENT
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